Case 1:24-cv-01844-TNM   Document 28-3   Filed 02/11/25   Page 1 of 4




                 EXHIBIT C
Case 1:24-cv-01844-TNM                      Document 28-3                        Filed 02/11/25   Page 2 of 4




                   U.S. Postal Service™
           c()
           n.J     CERTIFIED MAIL... RECEIPT
           n.J     (Domestic Mall Only; No Insurance Coverage Provided)
           c()

           c()
           n.J
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           LJ")                                 -    ~   -   ......- - - - - t          Yl'~
           D       Total Postagf
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                  t O                                          ,
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                                                    the Virgm,a epa men o ealth
           0
           I"-    Street, Apt No.                     Virginia Department of Health
                  or PO Box No.                                  P.O. Box 2448
                  C,ty, Stats, ZJP.                     Richmond, VA 23218-2448

                             :,,       .
              Case 1:24-cv-01844-TNM         Document 28-3        Filed 02/11/25      Page 3 of 4
    ALERT: WINTER STORMS IN THE MIDWEST THROUGH THE NORTHEAST U.S. MAY DELAY FIN…



USPS Tracking
                                  ®                                                                   FAQs 




                                                                                                    Remove 
Tracking Number:

70030500000243288228




                                                                                                           Feedback
     Copy          Add to Informed Delivery (https://informeddelivery.usps.com/)




     Latest Update
     Your item has been delivered and is available at a PO Box at 10:52 am on February 7, 2025 in
     RICHMOND, VA 23218.



     Get More Out of USPS Tracking:
         USPS Tracking Plus®


     Delivered
     Delivered, PO Box
     RICHMOND, VA 23218
     February 7, 2025, 10:52 am

     See All Tracking History

 What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


                                                                                                       
   Text & Email Updates


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   USPS Tracking Plus®


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   Product Information


                                                 See Less 

Track Another Package
          Case 1:24-cv-01844-TNM       Document 28-3     Filed 02/11/25   Page 4 of 4

Enter tracking or barcode numbers




                                    Need More Help?
                      Contact USPS Tracking support for further assistance.


                                             FAQs
